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                                                  Wednesday, 12 September, 2018 03:06:49 PM
                                                                 Clerk, U.S. District Court, ILCD

            IN THE UNITED STATES DISTRICT COURT
                CENTRAL DISTRICT OF ILLINOIS
                    SPRINGFIELD DIVISION

SAJIDA AHAD, MD, on behalf of)
herself and all others similarly
                             )
situated,                    )
                             )
    Plaintiff,               )
                             )
    v.                       )                No. 15-cv-3308
                             )
BOARD OF TRUSTEES OF         )
SOUTHERN ILLINOIS UNIVERSITY )
and SIU PHYSICIANS &         )
SURGEONS, INC.,              )
                             )
    Defendants.              )

                               OPINION

SUE E. MYERSCOUGH, U.S. District Judge.

     The cause before the Court is Plaintiff’s Motion for Rule 23

Class Certification (d/e 57). Plaintiff moves for class certification

under Federal Rule of Civil Procedure 23(b)(2) and 23(b)(3), or

alternatively, under 23(c)(4) for her Illinois Equal Pay Act, Illinois

Civil Rights Act, and Title VII claims. Because the Court finds that

Plaintiff has not shown the Rule 23(a) requirements of commonality

and typicality, Plaintiff’s Motion for Rule 23 Class Certification is

DENIED.



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                           I.   BACKGROUND

     Plaintiff Sajida Ahad, M.D. brings this suit alleging gender-

based pay discrimination on behalf of herself and a class of female

physicians employed by Defendants: the Board of Trustees of

Southern Illinois University and SIU Physicians & Surgeons, Inc.

Plaintiff alleges that Defendants paid Plaintiff and other female

physicians substantially lower compensation than male physicians

for the same or similar work. Plaintiff brings her claims pursuant

to the Illinois Equal Pay Act, Title VII, and the Illinois Civil Rights

Act. See Am. Compl., (d/e 31). Defendants deny these allegations.

See Answer to Am. Compl. (d/e 39). On September 29, 2017, the

Court entered an opinion granting Plaintiff’s Motion for Conditional

Certification Under FLSA Collective Action, 29 U.S.C. § 201 et seq.

     SIU School of Medicine operates under the authority of

Defendant SIU Board of Trustees (“the Board”). Pl. Class Cert.

Memo. at 2. Pursuant to statute, the Board is the employer of all

School of Medicine employees, many of whom provide patient care

through Defendant SIU Physicians & Surgeons, Inc., a university-

related organization also known as “SIU Healthcare.” Pl. Class

Cert. Memo. at 2 (d/e 58). Plaintiff, a female physician, worked for


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Defendants from approximately July 28, 2008 to March 21, 2014.

Pl. Class Cert. Memo. at 2.

     Defendants’ physician faculty hold one of three tenure-eligible

academic ranks: Assistant Professor, Associate Professor, and

Professor. Pl. Class Cert. Memo. at 3. All physician faculty are

expected to perform certain minimum duties in three categories:

research, teaching, and service (including clinical service). Pl. Class

Cert. Memo. at 3.

     Defendants employ physicians in different School of Medicine

Departments. This case focuses on seven Clinical

Science/Springfield departments: Family & Community Medicine,

Internal Medicine, Neurology, Obstetrics & Gynecology, Pediatrics,

Psychiatry, and Surgery. Pl. Class Cert. Memo. at 4. Each

Department is headed by a Department Chair. In each department,

faculty physicians are further classified by divisions. The divisions

are based on geographical location or specialization. Each division

is headed by a Division Chief.

     A Master Agreement between SIU School of Medicine and SIU

Healthcare requires SIU School of Medicine employees to provide

services for SIU Healthcare. Pl. Class Cert. Memo. at 3. The Master


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Agreement also requires that all physician members of SIU

Healthcare and the SIU School of Medicine be compensated

pursuant to the “Compensation Plan.” Pl. Class Cert. Memo. at 5.

The Compensation Plan “serves as the governing document for

compensation,” and it aims to provide for compensation that “is

market based and represents fair and reasonable compensation for

the efforts of faculty members” but “without regard to the payor for

a particular patient or the patient’s ability to pay.” Compensation

Plan, *4 (d/e 62). On its face, the Compensation Plan is

undoubtedly gender neutral.

     The Dean of SIU School of Medicine and the CEO of SIU

Healthcare are responsible for the administration of the

Compensation Plan. Pl. Class Cert. Memo. at 5. Currently, the SIU

School of Medicine Dean and Provost Dr. Jerry Kruse is also the

CEO of SIU Healthcare. Pl. Class Cert. Memo. at 4. Since at least

2010, all of SIU Healthcare’s CEOs and the School of Medicine’s

Deans were men. Since 2010, only 15 individuals served as

Department Chairs for the seven departments at issue and only

three have been women. Pl. Class Cert. Memo. at 4. Defendants

point out that the two largest Departments—Internal Medicine and


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Family Practice—have been led by women during various time

periods. Defs. Opp’n to Class Cert. at 4 (d/e 68).

      Under the Compensation Plan, Defendants’ physician faculty

members can receive three types of compensation, all of which must

be paid in accordance with the Compensation Plan: (1) an academic

base salary paid by SIU School of Medicine; (2) a clinical base salary

paid by SIU Healthcare; and (3) a clinical incentive income paid by

SIU Healthcare. Pl. Class Cert. Memo. at 5. Academic base salary

compensates physician faculty for their academic and

administrative duties and is a fixed, monthly amount. Pl. Class

Cert. Memo at 5-6.

      The clinical base and clinical incentive income make up the

clinical compensation.1 Pl. Class Cert. Memo. at 6. Clinical

compensation is calculated using a formula that assigns “Relative

Value Units” (“RVUs”) to the services the physician provided. Pl.

Class Cert. Memo. at 6. Every procedure performed by a physician

has a Current Procedural Terminology (CPT) code established by the



1 The Court notes that Defendants refer to this combined income as “practice
plan income.” See Defs. Opp’n to Class Cert. at 4. However, the Court
understands that this term refers to the same income, so the Court will use the
term “clinical compensation” for consistency.

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federal government, and these codes translate into a certain

number of federally established RVUs, irrespective of the specialty,

geographic location, or gender of the physician. Defs. Opp’n to

Class Cert. at 4. The clinical compensation is calculated by

multiplying the physician’s earned RVUs by a conversion factor.

The conversion factor is different in each division and is determined

every six months by dividing the total compensation received from

all sources by the total RVUs of all division faculty. Defs. Opp’n to

Class Cert. at 4. The RVUs and, therefore, the clinical

compensation, is determined by each individual physician’s time

devoted to clinical practice, types and amount of procedures

performed, specialty, and participation in call schedules. Defs.

Opp’n to Class Cert. at 4. New clinical faculty are guaranteed a

fixed clinical income during initial employment to allow them to

build a practice, but those who generate more RVUs than

anticipated can terminate the guarantee and be paid for all of their

accrued RVUs. Defs. Opp’n to Class Cert. at 4. The clinical

compensation is also subject to caps.

     Hiring also follows a standardized process. However, each

hiring decision relies on individualized factors. Defs. Opp’n to Class


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Cert. at 2. Defendants typically hire faculty physicians for the

purpose of filling a specific sub-specialty need. Defs. Opp’n to Class

Cert. at 3. For instance, if a transplant surgeon is needed, only

fellowship-trained transplant surgeons will be considered for the

position. Defs. Opp’n to Class Cert. at 2. When Defendants need to

fill a position, the Department Chair completes a recruitment form

for the position identifying a salary range, including an academic

base salary and clinical compensation, which should be determined

initially, in part, using data from the American Association of

Medical Colleges (“AAMC”). Pl. Class Cert. Memo. at 6. Prior to

hiring, however, the recruitment tracking form must be reviewed

and approved by the Department of Human Resources, SIU’s

Affirmative Action office, SIU Healthcare, the Office of Management

and Budget, and the Dean and Provost. Pl. Class Cert. Memo. at 7.

     Once candidates are selected, they negotiate their

compensation with their Department Chair. Pl. Class Cert. Memo

at 7. The Department Chair considers the physician’s background

and qualifications, as well as market factors, and makes a

compensation recommendation. Pl. Class Cert. Memo. at 7. To

determine the initial academic base salary, the Department Chair


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may consider specific fellowship training, external industry bench-

mark data from the AAMC, specific job responsibilities, level of

education and training, competing job offers, and availability of

third-party financial support for the position. Defs. Opp’n to Class

Cert. at 5. This recommendation is reviewed again by SIU’s

Affirmative Action office, SIU Healthcare, the Office of Management

and Budget, and the Dean and Provost. Pl. Class Cert. Memo. at 7.

     After a physician accepts employment with the Defendants,

they execute a Member Practice Agreement which identifies the

physician’s duties and responsibilities and all compensation and

fringe benefits. Pl. Class Cert. Memo. at 7. These agreements are

largely the same for all physician faculty. They specify that new

physicians’ clinical compensation is guaranteed for the first one or

two years of practice, subject to repayment obligations. Pl. Class

Cert. Memo at 7. New physicians also execute an Annual

Compensation Agreement that reflects the agreed academic base

salary and the anticipated clinical compensation for the coming

year. Pl. Class Cert. Memo. at 7-8.

     Going forward, physicians’ compensation is reviewed annually.

As with initial compensation, Department Chairs recommend


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compensation adjustments for physicians in their departments.

Those recommendations are subject to review and approval by the

Dean.

        The Compensation Committee also reviews physicians’

compensation. Pl. Class Cert. Memo. at 8. The Compensation

Committee consists of three community members and the Dean.

Since 2010, besides the Deans, six other individuals have served on

the committee, including one woman. Pl. Class Cert. Memo. at 8.

The Compensation Committee reviews physicians’ performance,

compensation paid during the prior year, and proposed

compensation for the upcoming year. Pl. Class Cert. Memo. at 8.

The Committee reviews clinical compensation to make sure that the

amount of anticipated clinical income in the next fiscal year’s

contract is a reasonable estimate of what they expect the faculty

member will generate in clinical income the following year. Defs.

Opp’n to Class Cert. at 7. Once the guarantee period ends, the

faculty member is paid clinical income based on actual production

of RVUs. The amount set forth in his or her contract then serves

only as a monthly “draw” which is reconciled on a quarterly basis.

Defs. Opp’n to Class Cert. at 7.


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     The Compensation Committee has the authority to adopt or

reject the Department Chairs’ recommendations as to the clinical

base. Pl. Class Cert. Memo. at 8.

      Clinical base for the current fiscal year is estimated. Clinical

base is based on productivity, so clinical base is calculated by a

faculty member’s RVUs multiplied by a division conversion factor.

Clinical base may also reflect administrative duties. The number of

RVUs a faculty member earns depends on certain factors such as

the number of patient encounters and the time devoted to clinical

practice. Decl. of Dorsey ¶ 6 (d/e 68-14).

     Market level factors are determined by the CEO and the

department chair based on the circumstances of the Department,

such as the site of practice, program reimbursement, specific

program goals, and other factors. Comp. Plan at 7. The market

level factor is then approved by the Compensation Committee. Id.

     A Department Chair may establish that all or part of the

Division or Department’s RVUs shall be pooled prior to the

calculation of individual-level clinical base to accommodate

Department policy, e.g., if faculty members of the Department take

equal shares of calls, rounds, or clinics or to implement other


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Department or Division clinical practice goals. The Compensation

Committee must approve the pooling plan. The Committee

considers the plans annually in light of the overall charitable,

educational, and educational objectives of SIU P&S and its

consistency with market-based compensation. Additionally, the

Dean has independent authority to increase tenure-track

physicians’ compensation by 10% without additional review by the

Compensation Committee. Pl. Class Cert. Memo. at 8.

     The Dean of SIU School of Medicine reviews the department

chair’s recommendation for SIU SM base compensation for faculty

members. Decl. of Dorsey ¶ 2 (d/e 68-14). The Dean does not

substantially participate in the establishment of the SIU SM base.

Decl. of Dorsey ¶ 2 (d/e 68-14). Indeed, Dr. Kevin Dorsey, Dean of

SIU School of Medicine from 2001-2015, could not remember a time

when he participated substantively in the establishment of the

medical school salary of any clinical faculty member. Decl. of

Dorsey ¶ 2 (d/e 68-14).

     The Compensation Plan does not establish the factors to be

considered in developing a medical school salary. Dr. Dorsey listed

contributing factors such as academic promotion, taking on or


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giving up administrative duties or directorships, and third party

funding for positions. Decl. of Dorsey ¶ 6 (d/e 68-14).

     Each year all physicians also execute a new Annual

Compensation Agreement reflecting anticipated compensation for

the coming year. Pursuant to the Compensation Plan, the process

of determining annual compensation is accomplished through a

similar process as described above.

     Plaintiff alleges that this process has resulted in

discriminatory pay practices whereby female physicians are paid

significantly less than similarly situated male physicians. While

employed by the Defendants, Plaintiff’s job duties changed multiple

times and her academic base salary was not increased.

Additionally, she voiced concerns with her division chief and

multiple female physicians that Defendants did not give females

leadership positions and equal opportunities to succeed. Plaintiff

also formally complained about pay discrimination to Defendants’

Executive Director of Human Resources, Penny McCarthy.

McCarthy’s notes indicated that Plaintiff believed that there may be

a perception among the female faculty that there is a pay disparity




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and that the school faculty was a “boys club.” Plaintiff did not

provide affidavits of any putative class members.

     Defendants argue that the process of determining

compensation is highly individualized. For example, Plaintiff was

hired in 2008 after completing a residency in general surgery and a

fellowship in minimally invasive and bariatric surgery. Defs. Opp’n

to Class Cert. at 6. Her initial compensation totaled $250,000,

which included $125,000 in academic base and $125,000 in clinical

income, guaranteed for two years. She later assumed the position

of Director of the newly created Bariatric Surgery Program, where

her academic salary was funded by St. John’s Hospital. Her

primary role in that position was to develop and lead the Bariatric

Surgery Program. When Plaintiff resigned in March 2014, the

program ended. She remained on her guaranteed clinical

compensation for two years, but did not earn enough RVUs to cover

the guaranteed amounts and was required to pay back money

during a 15-month reconciliation period to cover a portion of the

overpayments.

     Plaintiff and the Defendants have both hired experts to

analyze pay and determine whether a statistically significant pay


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disparity exists among similarly situated female and male physician

faculty. The experts have reached opposite conclusions. Both

experts concluded that a multiple regression analysis, a form of

statistical modeling used to show the relationship between a

dependent variable (here, compensation) and independent variables

(such as gender, department, etc.), is the proper method to analyze

the data. However, the two experts reached different conclusions

on how the model should be constructed.

     Plaintiff’s expert, Dr. D.C. Sharp, conducted a multiple-

regression analysis and concluded that female physicians received

less pay than male physicians from 2010 to 2016 and that the

difference in pay between genders was statistically significant. See

Expert Report of D.C. Sharp, Ph.D. (d/e 57-9). His initial analysis

separately analyzed the academic base salary assigned by

Defendants, the academic salary actually paid in a given year, and

clinical compensation paid. Dr. Sharp controlled for various

factors, including year, specialization (i.e. Department), academic

rank, and factors about physicians’ backgrounds. His initial

analysis found that female physicians annually made, on average,

$18,318 less than male physicians in academic salary paid and


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$30,559 less than male physicians in clinical compensation paid,

and female physicians’ academic salary rate was, on average,

$21,329 less than that of male physicians. Dr. Sharp excluded

RVUs as a factor of clinical compensation in his regression analysis

because he found it to be a “tainted” variable—that is, an

explanatory variable that could be affected by the employer’s alleged

discriminatory behavior. See Reply Report of D.C. Sharp, Ph.D.

(d/e 57-10).

     Defendants’ expert, Dr. Chen Song, reached the opposite

conclusion, finding that no statistically significant difference in pay

existed between Defendants’ female and male physicians. See

Expert Report of Chen Song, Ph.D. (d/e 68-15). Dr. Song found

that the analysis was properly done on a department-by-

department basis because, after reviewing the evidence, she found

that department heads were the relevant decision makers. Dr. Song

also utilized the AAMC Salary Benchmark in her analysis because

this is a factor that is considered by Department heads at the time

of hire—due, at least in part, to its inclusion on the recruitment

form. Dr. Song included RVUs as a driver of clinical compensation.




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     Dr. Song also used a new data set that had been compiled by

Defendants and Defense counsel. The new data set included

division information that previously was only contained in hardcopy

documents. Dr. Song found that division information was an

important variable because the RVU conversion factor varies by

division. Dr. Song provided three models for determining whether a

statistically significant pay difference existed between similarly

situated male and female physicians: (1) a model that used AAMC

median market benchmark data; (2) a model that used AAMC mean

market benchmark data; and (3) a model that specifically controlled

for the individual physician faculty’s academic rank, division, and

year. With all models, Dr. Song concluded that no statistically

significant difference in pay existed between similarly situated

female and male physicians.

     Dr. Song evaluated Dr. Sharp’s report and concluded that Dr.

Sharp’s analysis was flawed for a number of reasons. Dr. Song

criticized Dr. Sharp, finding that Dr. Sharp did not answer whether

female physicians’ total compensation was less than that of the

male physicians because Dr. Sharp analyzed the pay components

separately rather than reviewing and comparing total compensation


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for male and female physicians. Dr. Song found that Dr. Sharp’s

omission of RVUs as a factor for clinical compensation when clinical

compensation is largely determined by total RVUs made Dr. Sharp’s

conclusions flawed as well. Dr. Song also criticized Dr. Sharp for

not removing outliers, such as employees who had low pay records

due to ‘partial year’ employment. Dr. Song opines that including

such outliers in the regression database may have skewed Dr.

Sharp’s results. Additionally, Dr. Song noted that Dr. Sharp’s

analysis did not accurately predict individualized damages, but only

provided average pay disparities between female and male

physicians.

     In his rebuttal report, Dr. Sharp addressed the criticisms of

Dr. Song and ran new analyses using the data from Dr. Song’s

report. See Reply Report of D.C. Sharp, Ph.D. (d/e 57-10). Dr.

Sharp disagreed with Dr. Song that the analysis should be done on

a department-by-department basis. By disaggregating the data, Dr.

Sharp reasoned, Dr. Song decreased the likelihood of finding

statistically significant differences. Dr. Sharp believed that Dr.

Song exaggerated departmental independence. Dr. Sharp believed

that to the extent departmental independence existed, it could be


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controlled for in other ways. In his reply report Dr. Sharp defended

his methodology of combining all of the departments into one pool,

asserting that the use of other explanatory variables (i.e. medical

school, publications, and the like) could be used to account for the

differences between departments or specializations.

     Dr. Sharp further stood by his earlier conclusion that RVUs

may be a tainted variable and, therefore, are properly excluded from

the analysis. Female physicians tend to have lower RVUs than

male physicians, which could be due to RVUs not being equally

available to all physicians. Additionally, anecdotal evidence showed

that Plaintiff or other potential class members may not have had

equivalent opportunity to obtain RVUs as other similarly situated

physicians. Therefore, in this report, Dr. Sharp conducted analyses

that both included and excluded RVUs as a variable. Including the

RVUs eliminated two-thirds of the pay difference found in the

multiple regression model.

     Dr. Sharp still found statistically significant differences in pay

after running a multiple regression analysis on a department by

department basis, including RVUs, and eliminating the other

methodological flaws that Dr. Sharp found in Dr. Song’s analysis.


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Using two different estimation methods, Dr. Sharp concluded that

even taking into account RVUs, the impact of a being a female

physician, relative to being a male physician with the same

attributes, is to reduce total compensation by $12,217 per year.

      Dr. Song submitted a rebuttal report in August 2017.2 See

Rebuttal Report of Dr. Song (d/e 68-16). In this report, Dr. Song

disagreed that Dr. Sharp’s new analyses properly accounted for

departmental independence because the new analyses did not allow

the other variables to interact with the department variable. Dr.

Song again disagreed that RVUs should be excluded from the

analysis. Finally, Dr. Song demonstrated that two of the three

models he used—the AAMC Median Model and the AAMC Mean

Model—still produced no statistically significant pay difference

when using Dr. Sharp’s aggregated methodology.

      Plaintiff moves for class certification of her Illinois Equal Pay

Act, Title VII, and Illinois Civil Rights Act claims pursuant to

Federal Rule of Civil Procedure 23. Plaintiff argues the putative

class meets the requirements of Rule 23(a) and can be certified


2Plaintiff moved to strike this report, because it was not specifically authorized
and provided for in the scheduling order. However, the Court denied this
Motion. See d/e 82.

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under Rule 23(b)(2) for equitable relief and/or under Rule 23(b)(3)

as a class created by predominance and superiority for damages.

Alternatively, Plaintiff requests certification under Rule 23(c)(4) of

any issues the Court deems appropriate.

     Defendants oppose class certification and argue that

compensation decisions are too individualized for class treatment.

Defendants argue that Plaintiff has not met her burden to show

commonality or typicality pursuant to Rule 23(a) and predominance

or superiority pursuant to Rule 23(b)(3), and that class treatment

under Rule 23(b)(2) is not appropriate because each class member

would be entitled to an individualized award of money damages.

     While the Court finds that Plaintiff has met her burden to

show numerosity and adequacy of representation, Plaintiff has not

met her burden to show commonality or typicality. Accordingly, the

Court denies Plaintiff’s Motion for Class Certification.


                  II.   JURISDICTION AND VENUE

     This Court has subject matter jurisdiction because Plaintiff’s

claims are based on federal law. See 28 U.S.C. § 1331 (“The district

courts shall have original jurisdiction of all civil actions arising



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under the Constitution, laws, or treaties of the United States.”).

The Court has supplemental jurisdiction over Plaintiff’s state law

claims pursuant to 28 U.S.C. § 1367. Venue is proper because the

events giving rise to the claim occurred in Sangamon County,

Illinois. See 28 U.S.C. § 1391(b)(2) (a civil action may be brought in

a judicial district where a substantial part of the events or

omissions giving rise to the claim occurred).

                      III.   LEGAL STANDARD

     “The purpose of class action litigation is to avoid repeated

litigation of the same issue and to facilitate prosecution of claims

that any one individual might not otherwise bring on her own.”

Chicago Teachers Union, Local No. 1 v. Bd. of Educ. of City of

Chicago, 797 F.3d 426, 433 (7th Cir. 2015). The Court’s decision to

certify a class action under Federal Rule of Civil Procedure 23 “is

not free-form, but rather has been carefully scripted by the Federal

Rules of Civil Procedure.” Id. To be certified as a class action, a

proposed class must meet the requirements of Federal Rule of Civil

Procedure 23(a), as well as one of the three provisions in Rule 23(b).

Messner v. Northshore Univ. HealthSystem, 669 F.3d 802 (7th Cir.

2012). Under Rule 23(a), class actions can only be brought if:


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     (1) the class is so numerous that joinder of all members is
        impracticable (numerosity);

     (2) there are questions of law or fact common to the class
        (commonality);

     (3) the claims or defenses of the representative parties are
        typical of the claims or defenses of the class (typicality); and

     (4) the representative parties will fairly and adequately protect
        the interests of the class (adequacy of representation).

Id. (parentheticals added).

     In addition to these requirements, the proposed class must fall

within one of the class categories set forth in Rule 23. Rule 23(b)

sets forth four primary categories of classes: 1) to avoid indivisible

relief or inconsistent standards of conduct for defendant (Fed. R.

Civ. P. 23(b)(1)(A)); 2) to protect absent class members when the

existence of a limited fund or stare decisis would be dispositive as

to non-members or hinder their ability to protect their interests

(Fed. R. Civ. P. 23(b)(1)(B)); 3) where the primary relief sought is

equitable, such as injunctive relief to control defendant’s behavior

when defendant acts as generally applied to the class (Fed. R. Civ.

P. 23(b)(2)); and 4) when common questions predominate over

individual questions and a class is the superior method to dispose

of the claims (Fed. R. Civ. P. 23(b)(3)).



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     The parties focus on two of these class types: injunctive relief

under Rule 23(b)(2) and predominance and superiority under Rule

23(b)(3). A class can be certified under Rule 23(b)(2) when “the

class has acted or refused to act on grounds that apply generally to

the class, so that final injunctive relief or corresponding declaratory

relief is appropriate respecting the class as a whole.” Fed. R. Civ. P.

23(b)(2). “Rule 23(b)(2) applies only when a single injunction or

declaratory judgment would provide relief to each member of

the class[;] . . . [i]t does not authorize class certification when

each class member would be entitled to an individualized award of

monetary damages.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338,

360–61 (2011).

     To certify a class under Rule 23(b)(3), a plaintiff must prove:

“(1) that the questions of law or fact common to the members of the

proposed class predominate over questions affecting only individual

class members; and (2) that a class action is superior to other

available methods of resolving the controversy.” Messner, 669 F.3d

at 811.

     Alternatively to the four class types, under Rule 23(c)(4), if the

Rule 23(a) requirements are met, the court may rule on certain


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issues as to the class which do not dispose of the cases in full.

“When appropriate, an action may be brought or maintained as a

class action with respect to particular issues.” Fed. R. Civ. P.

23(c)(4). Rule 23(c)(4) may be appropriate “[i]f there are genuinely

common issues, issues identical across all the claimants, issues

moreover the accuracy of the resolution of which is unlikely to be

enhanced by repeated proceedings, then it makes good sense,

especially when the class is large, to resolve those issues in one fell

swoop while leaving the remaining, claimant-specific issues to

individual follow-on proceedings.” McReynolds v. Merrill Lynch,

Pierce, Fenner & Smith, Inc., 672 F.3d 482, 491 (7th Cir. 2012),

quoting Mejdrech v. Met–Coil Sys. Corp., 319 F.3d 910, 911 (7th

Cir. 2003).

     The Court will first analyze whether Plaintiff has met each

Rule 23(a) requirement. In analyzing class certification, “a court

should not turn the class certification proceedings into a dress

rehearsal for the trial on the merits.” Messner, 669 F.3d at 811. “A

party seeking class certification must affirmatively demonstrate his

compliance with the Rule—that is, he must be prepared to prove

that there are in fact sufficiently numerous parties, common


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questions of law or fact, etc.” Wal-Mart Stores, 564 U.S. at 350

(emphasis in original). Plaintiff bears the burden of showing that

the proposed class meets the Rule 23 requirements, but this

showing need not be “to a degree of absolute certainty. It is

sufficient if each disputed requirement has been proven by a

preponderance of evidence.” Messner, 669 F.3d at 811.


                             IV.     ANALYSIS

       A. The Proposed Class is Sufficiently Numerous.

       Rule 23(a)(1) requires that the class be “so numerous that

joinder of all members is impracticable.” Fed. R. Civ. P. 23(a)(1).

From the Defendants’ records, Plaintiff has identified approximately

165 female faculty physicians who have been employed during the

class period. These putative class members now reside in an

estimated 16 different states. Pl. Memo. at 15. Defendants have

not argued that Plaintiff has not met the requirement of

numerosity, and the Court finds that the numerosity requirement is

met.




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     B. Plaintiff Has Not Shown that Common Answers Exist
        and, Therefore, Has Not Met Her Burden of
        Commonality.

     The main dispute between the parties with regard to class

certification revolves around commonality. Rule 23(a)(2) requires

Plaintiff to demonstrate that there are questions of law or fact

common to the class. Plaintiff must show that the class members

have suffered the same injury and that their claims depend on a

common contention that “is capable of classwide resolution—which

means that determination of its truth or falsity will resolve an issue

that is central to the validity of each one of the claims in one

stroke.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 349–50

(2011). Wal-Mart explained that:

     What matters to class certification . . . is not the raising of
     common ‘questions’—even in droves—but, rather the capacity
     of a classwide proceeding to generate common answers apt to
     drive the resolution of the litigation. Dissimilarities within the
     proposed class are what have the potential to impede the
     generation of common answers.

Id. at 350 (emphasis in original) (internal citations omitted).

     In order to show commonality of a putative class based on

alleged employment discrimination, a plaintiff must show that the

alleged class-wide discrimination has a common cause. The form of



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this common cause can vary—it could be a company-wide

employment policy or a few unified decision-makers. In Wal-Mart,

plaintiffs sought to certify a class of over a million female workers

employed by Wal-Mart, alleging that Wal-Mart discriminated

against female workers in violation of Title VII. Id. They claimed

that local managers exercised their discretion over pay and

promotions disproportionately in favor of men, which had an

unlawful disparate impact on female employees, and that Wal–

Mart’s refusal to impose more stringent limits on its managers’

authority over compensation and promotion decisions amounted to

disparate treatment. Id. The Supreme Court held that the absence

of a company-wide policy to explain the gender disparity in pay

precluded class certification, especially because Wal-Mart employed

thousands of local managers who exercised discretion. Wal-Mart

Stores, Inc., 564 U.S. at 356 (“In a company of Wal–Mart’s size and

geographical scope, it is quite unbelievable that all managers would

exercise their discretion in a common way without some common

direction.”).

     According to Plaintiff’s expert, female physicians are paid less

at a statistically significant level than similarly situated male


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physicians. Plaintiff argues that her expert accounted for all

relevant gender-neutral reasons for the pay disparity; and,

therefore, the pay differential must have been the result of gender

discrimination. However, to try this action as a Rule 23 class, there

must be some “glue” that can produce a common answer to the

questions of whether and why compensation for female physicians

was lower than compensation for similarly situated male

physicians. Id. at 352. For example, that “glue,” the Supreme

Court explained in Wal-Mart, could be a biased employment testing

procedure or a general policy of discrimination established by top

managers. Id. at 351. Plaintiff argues that the “glue” in this case is

Defendants’ implementation of their Compensation Plan, pursuant

to which Defendants establish and adjust physicians’

compensation. Plaintiff acknowledges that the Compensation Plan

does not explicitly discriminate against women and that initial

compensation recommendations were made at the department level.

However, she argues that implementation of the Compensation Plan

was still an employment practice that resulted in class-wide

discrimination because Department Chairs made compensation

decisions in accordance with the Plan and because final


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compensation decisions included review by Defendants’ Dean and

the Compensation Committee, both of which had the ability and

authority to change the initial compensation recommendation.

Plaintiff contends that this implementation policy of the

Compensation Plan resulted in gender discrimination in the form of

lower pay.

     Plaintiff relies heavily on the Seventh Circuit decisions of

McReynolds v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 672 F.3d

482, 492 (7th Cir. 2012), and Chicago Teachers Union, Local No. 1

v. Board of Education of the City of Chicago, 797 F.3d 426, 433 (7th

Cir. 2015). In McReynolds, the plaintiffs alleged class-wide racial

discrimination in the form of disparate income between black and

white brokers. The court granted class certification, finding that,

unlike Wal-Mart, the discretion of local management was influenced

by two company-wide policies: “authorization to brokers, rather

than managers, to form and staff teams; and basing account

distributions on the past success of the brokers.” McReynolds, 672

F.3d at 489. The court did not decide the issue of whether racial

discrimination existed and noted that the disparity could have been

caused by a force other than discrimination. However, the court


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found that class action treatment was appropriate, considering that

“[t]he only issue at this stage is whether the plaintiffs’ claim of

disparate impact is most efficiently determined on a class-wide

basis rather than in 700 individual lawsuits.” Id. at 490.

     In Chicago Teachers Union, the plaintiffs alleged racial

discrimination in the process and outcome of school reconstitution,

which is a practice of replacing a school’s entire staff as a remedy

for failure. 797 F.3d at 435. The process of reconstituting schools

included three steps: (1) the CEO identified all of the schools eligible

under state law for reconstitution due to poor past performance; (2)

the CEO reduced that list by removing those that met objective

criteria of test scores and graduation rates; and (3) the CEO and

other high-level board members met to discuss and determine the

types of information that they would consider to determine each

school’s eligibility for reconstitution and then analyzed the schools

according to that information. Id. The Seventh Circuit held that

the fact that the last step was subjective and potentially case-by-

case did not destroy the potential for commonality created by the

first two objective steps: “Every one of those teachers could answer

the question, ‘why was I disfavored?’ by pointing to the initial


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objective criteria that impacted only African-American teachers.”

Id. Therefore, class action treatment was appropriate to determine

whether the initial steps had a disparate impact on African-

American teachers.

     Further, whether the third subjective step had a disparate

impact was also appropriate for class certification. As the Seventh

Circuit summarized:

     [S]ubjective, discretionary decisions can be the source of a
     common claim if they are, for example, the outcome of
     employment practices or policies controlled by higher-level
     directors, if all decision-makers exercise discretion in a
     common way because of a company policy or practice, or if all
     decision-makers act together as one unit.

Id. at 438. This is because decisions by high-level managers affect

a much larger portion of an organization than those made by lower-

level managers. “Consequently, discretionary authority exercised

by high-level corporate decision-makers, which is applicable to a

broad segment of the corporation’s employees, is more likely to

satisfy the commonality requirement than the discretion exercised

by low-level managers in Wal–Mart.” Id. at 440.

     Unlike the plaintiffs in McReynolds and Chicago Teachers

Union, Plaintiff has not demonstrated how the facially neutral



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company-wide policy at issue resulted in discrimination in this

case. In McReynolds, the plaintiffs presented evidence that the

policy of leaving teaming decisions to individual brokers caused

disparate treatment as the brokers were more likely to choose

teammates that were of the same race. These teaming decisions

resulted in lower compensation for the African-American brokers.

Likewise, in Chicago Teachers Union, two objective factors limited

the pool of schools in a way that had a disparate impact on African

Americans.

     Here, Plaintiff has not shown how the seemingly gender-

neutral Compensation Plan could have created the disparate

compensation. First, the discretion given to Department Chairs by

the Plan does not, without more, establish a common question

capable of classwide resolution. Plaintiff argues that the

Department Chairs’ pay decisions were limited by the authority

given to them in the Compensation Plan and by the budget.

Plaintiff notes in support of her position that the Compensation

Plan delegates discretion to Department Chairs and establishes

objective factors to guide the Department Chairs in that exercise.

But such an arrangement is unproblematic unless Plaintiff makes


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some showing that a factor may have created the disparate impact,

such as in McReynolds. See Jones v. Nat’l Council of Young Men’s

Christian Ass’ns of the U.S.A., 34 F. Supp. 3d 896, 905 (N.D. Ill.

2014) (noting that the policies at issue in Wal-Mart did not give

managers “unfettered discretion to pay and promote employees as

they saw fit. Rather, and as the Supreme Court carefully noted,

although the company granted broad discretion to managers to

increase wages and to select employees for promotion, that

discretion had limits and was subject to corporate oversight.”).

Plaintiff has not presented any argument that objective factors

considered by the Department Chairs or the Dean in determining

compensation resulted in the pay disparity. Without a showing that

the seemingly neutral factors considered by the Department Chairs

were biased against female physicians, the facts of this case are too

far from the facts of McReynolds. Plaintiff might have tried to argue

that the policy of using RVUs to calculate clinical compensation was

an objective factor that created a disparate impact, because, at least

in Plaintiff’s experience, female physicians did not have an equal

opportunity to earn RVUs. However, this would not have been a

conceivable class-wide issue, especially in light of the fact that some


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divisions pooled RVUs. While there may be gender discrimination

in pay decisions, Plaintiff has only pointed to a plan that provided

for a process that gave discretion to Department Chairs.

     Second, Plaintiff has not shown that discretion exercised by

one or a few high-level individual(s) could have created the

disparate impact. Plaintiff essentially argues that the

Compensation Plan allowed for discretion in terms of compensation

decisions at the department level and that this discretion was not

thoroughly vetted at the Dean’s level for gender discrimination.

However, the authority that the Dean and the Committee have to

edit the compensation is insufficient to create a common question

such that each case can be addressed together. Plaintiff has

provided no evidence that the Dean or the Committee regularly

changed any compensation recommendation by the Department

Chair. However, the fact that some oversight existed in the form of

review by the Dean does not change the analysis unless the Dean

also exercised discretion in setting pay. Without a showing that the

Dean was the subjective decision-maker that inserted gender bias

into the pay determinations, this case is simply too far from

Chicago Teachers Union.


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     The Compensation Plan does not create the necessary “glue” to

connect the alleged disparate treatment to one class-wide subjective

decision maker. Instead, this case bears more similarity to cases

that have not found commonality post-Wal-Mart because no

company-wide policy existed that was responsible for the alleged

discrimination.

     Plaintiff’s statistical evidence is not sufficient to turn the tides

in this analysis either. In Wal-Mart, the Court rejected statistical

evidence as a sufficient basis to establish commonality because,

even if it showed gender disparity in every store, it would not show

a common cause. 564 U.S. at 360. See also Jones, 34 F. Supp. 3d

at 909 (“A well done multiple regression analysis may go a long way

to establishing that there is a race-based disparity, ruling out the

possibility that an observed disparity is simply the product of

chance. But ruling out chance says only that something, or some

combination of things, other than chance, is causing the disparity;

it does not identify what that thing, or those things, actually may

be.”). Likewise, the statistical evidence here does not and cannot

show whether a common cause existed regardless of the statistically

significant showing of pay disparities based on gender.


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     Plaintiff may be able to show commonality among a subclass,

such as by department. The Court recognizes, however, that

statistically significant findings of disparate treatment are less likely

to be visible at the department level, which may be why Plaintiff has

not sought certification of a subclass. In this case, the evidence

shows that any relevant subjective decisions were made at the

department level. Accordingly, the Court finds that Plaintiff has not

met her burden of proving commonality pursuant to Rule 23(a)(2).

     C. Plaintiff has Not Met Her Burden of Showing Typicality.

     The Rule 23(a)(3) “typicality requirement primarily directs the

district court to focus on whether the named representatives’ claims

have the same essential characteristics as the claims of the class at

large.” Retired Chicago Police Ass’n v. City of Chicago, 7 F.3d 584,

597 (7th Cir. 1993). The named representatives’ claims are typical

if they arise out of the same event, practice, or course of conduct

that gives rise to the claims of the other class members and if they

are based on the same legal theory. Rosario v. Livaditis, 963 F.2d

1013, 1018 (7th Cir. 1992). “A class is not fairly and adequately

represented if class members have antagonistic or conflicting




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claims.” Riffey v. Rauner, 873 F.3d 558, 563–64 (7th Cir. 2017)

(quotation omitted).

     Because the Court has found that Plaintiff has not identified a

common policy that is the cause of the alleged disparate impact,

Plaintiff cannot demonstrate that her claim is typical of the claims

of other class members. See Jones, 34 F. Supp. 3d at 911 (citing

Gen. Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 157 (1982)) (“The

commonality and typicality requirements of Rule 23(a) tend to

merge.”).

     D. Plaintiff Is an Adequate Class Representative and
        Plaintiff’s Counsel is Adequate Class Counsel.

     The adequacy of representation inquiry “consists of two parts:

(1) the adequacy of the named plaintiffs as representatives of the

proposed class’s myriad of members, with their differing and

separate interests, and (2) the adequacy of the proposed class

counsel.” Gomez v. St. Vincent Health, Inc., 649 F.3d 583, 592 (7th

Cir. 2011). Defendants do not dispute that Plaintiff is an adequate

class representative or that Plaintiff’s counsel are adequate class

counsel. Plaintiff’s interests are in line with the class, and she has

a sufficient interest in the outcome of the case. Plaintiff’s counsel



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have proven themselves sufficiently competent, experienced, and

qualified to conduct the proposed litigation. Therefore, the Court

finds that Plaintiff has met her burden of showing adequacy of

representation.

     However, because the Court finds that Plaintiff does not satisfy

the commonality and typicality requirements, the Court finds that

Plaintiff does not satisfy the requirements of Rule 23(a) and cannot

certify the class. Therefore, the Court need not discuss the

requirements of Rule 23(b).


                         V.     CONCLUSION

     For the reasons stated, Plaintiff’s Motion for Class Certification

(d/e 57) is DENIED.

ENTERED: September 12, 2018


FOR THE COURT:
                           s/ Sue E. Myerscough
                           SUE E. MYERSCOUGH
                           UNITED STATES DISTRICT JUDGE




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